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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION




STATE OF FLORIDA,

      Plaintiff,

v.                                                   Case No. 21-cv-541

UNITED STATES OF AMERICA, et
al.

      Defendants.




                        RESPONSE TO PLAINTIFF’S MOTION
                         FOR A PRELIMINARY INJUNCTION
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                                    INTRODUCTION

       The Department of Homeland Security (“DHS”), like all Executive agencies, must

accomplish its mission while operating with finite resources. In fulfilling its charge to

enforce U.S. immigration laws, it cannot arrest, detain, and remove all noncitizens

unlawfully present in the United States. Thus, during every Presidential Administration,

DHS invariably has had to make decisions over where it will dedicate its limited resources

in order to further its objectives of national security, border security, and public safety.

       This case concerns the exercise of DHS’s longstanding discretion over the

enforcement of U.S. immigration laws. Soon after President Biden took office, DHS

issued memoranda calling on immigration officials to focus their enforcement resources

on those noncitizens who, in DHS’s judgment, pose the greatest risk to the safety of the

American public. Importantly, although DHS instructed its officials to prioritize

enforcement actions against certain noncitizens, it did not indefinitely prohibit

enforcement actions against other noncitizens, and indeed, clarified that these actions are

proper if warranted by the circumstances.

       Nevertheless, the State of Florida brings suit and seeks a preliminary injunction,

arguing that DHS’s enforcement priorities conflict with certain statutory provisions that,

in its view, unconditionally require the arrest and detention of entire classes of

noncitizens, regardless of circumstance. Florida’s claims are belied by the text of the

relevant statutory provisions, applicable case law, the nature of the challenged

memoranda, and the realities of immigration enforcement.

       Florida requests extraordinary relief that would have this Court dictate where DHS

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 should focus its limited resources. This Court should refuse that request for a preliminary

 injunction against Executive priorities in the sensitive area of immigration law.

                                             BACKGROUND

 I.        Statutory framework.

           The Immigration and Nationality Act (“INA”) establishes the framework for

 arresting, detaining, and removing noncitizens who are unlawfully present in the United

 States, and a “principal feature of th[is] removal system is the broad discretion exercised

 by immigration officials.” Arizona v. United States, 567 U.S. 387, 396 (2012).1

           The removal process typically begins when DHS, in its discretion, initiates a

 removal proceeding against a noncitizen. See 8 U.S.C. § 1229(a); 8 C.F.R. § 239.1. DHS

 has discretion to choose which charges of removability to pursue, see 8 U.S.C.

 § 1229a(a)(2), and an immigration judge ultimately determines whether the alien is

 removable on those grounds, and if so, whether to enter an order of removal, see 8 U.S.C.

 § 1229a(a); 8 C.F.R. § 1240.12. An alien subject to a removal order may file an appeal

 before the Board of Immigration Appeals (“BIA”), 8 C.F.R. §§ 1003.1(b), 1240.15, and

 the removal order is stayed pending the appeal, 8 C.F.R. § 1003.6(a). If the BIA dismisses

 the appeal, the noncitizen may then petition for review in a federal court of appeals, and

 request a further stay of removal pending review. 8 U.S.C. § 1252(a)(5). Once an order of

 removal is final, see id. § 1101(a)(47)(B), and absent a stay, the noncitizen is subject to

 removal, see id. § 1231(a)(1)(A), (B)(ii). Importantly, “[a]t each stage” of this removal

 process, “the Executive has discretion to abandon the endeavor.” Reno v. American-Arab


 1
     Internal quotation marks and citations are omitted throughout this brief, unless otherwise stated.

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 Anti-Discrimination Comm., 525 U.S. 471, 483 (1999).

        This case concerns 8 U.S.C. § 1226, which sets forth the framework for “arresting

 and detaining” noncitizens present in the United States once removal proceedings have

 commenced. Jennings v. Rodriguez, 138 S. Ct. 830, 837 (2018). Section 1226 “distinguishes

 between two different categories of aliens.” Id. Section 1226(a) applies generally to all

 removable noncitizens, and allows the government “to issue warrants for their arrest and

 detention pending removal proceedings.” Id. at 846. This case concerns section 1226(c),

 which specifically covers noncitizens “who fall[] into one of [several] enumerated

 categories involving criminal offenses and terrorist activities.” Id. Under section 1226(c),

 DHS “shall take” these noncitizens “into custody . . . when [they are] released” from

 criminal confinement. 8 U.S.C. § 1226(c)(1).2 Importantly, section 1226(c) does not

 envision that covered individuals will always be arrested immediately following their

 release. See Nielsen v. Preap, 139 S. Ct. 954, 969 (2019) (section 1226(c)’s instruction that

 officials “shall act” upon the release of covered noncitizens is meant to “exhort [DHS] to

 act quickly,” but does not preclude arrests “well after their release”).

 II.    New guidance memoranda concerning immigration enforcement.

        On January 20, 2021, the then-Acting Secretary of Homeland Security issued a

 memorandum titled “Review of and Interim Revision to Civil Immigration Enforcement

 and Removal Policies and Priorities.” See Ex. A (hereinafter, the “DHS Memo”). The

 DHS Memo made note of DHS’s inherent resource limitations and the “significant


 2
  This provision also states that DHS “may release [these] alien[s]” in circumstances not relevant here. 8
 U.S.C. § 1226(c)(2). Plaintiffs are not claiming that noncitizens apprehended under section 1226(c) are
 being released due to DHS’s new guidance, and so section 1226(c)(2) is not implicated in this case.

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 operational challenges” it faces due to the COVID-19 pandemic, and, in light of these

 considerations, called upon DHS “components to conduct a review of policies and

 practices concerning immigration enforcement.” Id. at 1. DHS components were

 instructed to develop recommendations concerning, among other things, “policies for

 prioritizing the use of enforcement personnel, detention space, and removal assets” and

 “policies governing the exercise of prosecutorial discretion.” Id. at 2.

       The DHS Memo also adopted two interim measures. First, since DHS is subject to

 “limited resources,” and “cannot respond to all immigration violations,” the DHS Memo

 identifies three broad “priority” groups of noncitizens that DHS components should focus

 on when rendering “a range” of “discretionary enforcement decisions, including

 deciding” whom to “arrest” and “detain.” Id. These priority groups are:

    1. National security. Individuals who have engaged in or are suspected of terrorism or
       espionage, or whose apprehension, arrest and/or custody is otherwise necessary to protect
       the national security of the United States.

    2. Border security. Individuals apprehended at the border or ports of entry while attempting
       to unlawfully enter the United States on or after November 1, 2020, or who were not
       physically present in the United States before November 1, 2020.

    3. Public safety. Individuals incarcerated within federal, state, and local prisons and jails
       released on or after the issuance of this memorandum who have been convicted of an
       “aggravated felony,” as that term is defined in section 101(a) (43) of the [INA] at the time
       of conviction, and are determined to pose a threat to public safety.

 Id. The DHS Memo clarifies, however, that “nothing” therein “prohibits the apprehension

 or detention of” other noncitizens “who are not identified as priorities.” Id. at 3 (emphasis

 added). It also calls on “the Acting Director” of U.S. Immigration and Customs

 Enforcement (“ICE”) to “issue operational guidance on the implementation” of this

 priority framework. Id.


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        The DHS Memo also instituted a second interim measure for one-hundred days: a

 “pause on removals of any noncitizen with a final order of removal,” subject to a few

 exceptions. Id. The DHS Memo explained that this removal pause would allow DHS to

 first review its policies and adopt modifications that may “ensure that [its limited]

 resources are directed to [DHS’s] highest enforcement priorities.” Id.

        On February 18, 2021, ICE issued a memorandum to operationalize the removal

 priorities in the DHS Memo. See Ex. B (the “ICE Memo,” and together with the DHS

 Memo, the “Memoranda”). The ICE Memo confirms that “ICE operates in an

 environment of limited resources,” and “necessarily must prioritize” certain “enforcement

 and removal actions over others” in order to “most effectively achieve [its] mission” of

 “national security, border security, and public safety.” Id. at 2-3. The memo then

 catalogues the three priority groups identified in the DHS Memo, and notes that, at ICE’s

 request, DHS agreed to include “qualifying members of criminal gangs and transnational

 criminal organizations” into the list of priority groups. Id. at 1, 4-5 (hereinafter, the priority

 group provisions in the Memoranda will be referred to as the “Priority Framework”).

        Furthermore, the ICE Memo reiterates that the Priority Framework does not

 “prohibit the arrest, detention, or removal of any noncitizen,” and that enforcement

 actions against non-priority persons may still be permissible and justified based on “all

 relevant facts and circumstances,” including the nature of any prior criminal convictions.

 Id. at 3 (emphasis added). The memo requires that ICE officials secure “preapproval” of

 “enforcement or removal actions” of non-priority persons to ensure that resources are

 spent pursuing priority cases. Id. at 6. However, it acknowledges that, “[i]n some cases,


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 exigent circumstances and the demands of public safety will make it impracticable to

 obtain preapproval.” Id. Thus, in these circumstances, the ICE Memo allows agents to

 “conduct the enforcement action and then request approval . . . within 24 hours.” Id. The

 memo also includes a general catch-all provision allowing agents to submit “requests to

 exercise . . . individualized discretion” in certain cases, if it is “in the interest[] of law and

 justice.” Id. Finally, the memo clarifies that its provisions “will remain in effect” only until

 “new enforcement guidelines” are instituted, which it anticipated would occur around

 mid-May 2021. Id. at 1.

 III.   Litigation history.

        Shortly after the DHS Memo was issued, the State of Texas brought suit in the

 Southern District of Texas, asserting a number of claims against one aspect of the DHS

 Memo: the 100-day removal pause. See Texas v. U.S., 21-cv-3, ECF No. 1 (S.D. Tex. Jan.

 22, 2021). Texas sought both a temporary restraining order and a preliminary injunction

 against the removal pause, which the court granted on January 26, 2021 and February 23,

 2021, respectively. See Texas v. U.S., 21-cv-3, ECF Nos. 16, 85 (S.D. Tex. Jan. 22, 2021).

        On March 8, 2021, Florida brought suit in this Court, primarily challenging the

 Priority Framework.3 See ECF No. 1. Plaintiff now moves for a preliminary injunction

 based on three Administrative Procedure Act (“APA”) claims: (i) the Priority Framework

 allegedly conflicts with section 1226(c) since the former does not include all categories of

 noncitizens that the latter states DHS “shall” apprehend; (ii) the Priority Framework is



 3
  Florida also nominally challenges the now-enjoined removal pause in the DHS Memo, relying almost
 exclusively on a citation to the Texas preliminary injunction opinion. See PI Mot. at 21.

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 allegedly arbitrary and capricious; and (iii) the Memoranda are procedurally defective

 since they were not issued following a notice-and-comment process.

                                 STANDARD OF REVIEW

        “A preliminary injunction is an extraordinary and drastic remedy, and [the

 plaintiff] bears the burden of persuasion to clearly establish all . . . of the[] prerequisites,”

 including: a substantial likelihood of success on the merits, irreparable harm, and that the

 balance of equities and the public interest favor preliminary relief. Wreal, LLC v.

 Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016). “[W]here the government is the

 party opposing the preliminary injunction, its interest and harm merge with the public

 interest.” Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020).

                                        ARGUMENT

 I.     Florida fails to establish a non-speculative injury, and thus it both lacks
        standing and cannot show irreparable harm.

        Florida fails to establish standing, much less irreparable harm. Florida’s injury

 theories all stem from its allegation that the Memoranda will result in a net reduction of

 enforcement actions against noncitizens with criminal records in Florida, resulting in

 more crime in Florida. See PI Mot. at 9. Florida’s showing falls well short of establishing

 this speculative chain of alleged eventualities.

        To establish standing to “seek injunctive relief, a plaintiff must show that” it “is

 under threat of suffering” an “actual and imminent” injury caused by “the challenged

 action,” and that “a favorable judicial decision will prevent” that injury. Summers v. Earth

 Island Inst., 555 U.S. 488, 493 (2009). The “threatened injury must be certainly impending



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 to constitute injury in fact”; allegations of “possible future injury do not satisfy . . . Art.

 III.” Whitmore v. Ark., 495 U.S. 149, 158 (1990) (emphasis added).

        Florida’s theory of increased crime resulting from the non-detention of certain

 noncitizens is speculative, and does not demonstrate that any injury is “certainly

 impending.” For one, the Memoranda do not require a net reduction in enforcement

 actions. They simply require DHS components to now prioritize those noncitizens who,

 in DHS’s view, pose the greatest risk to public safety (e.g., those who have committed

 aggravated felonies, and those involved in terrorist and gang-related activities, see ICE

 Memo at 4-5). Thus, the Memoranda could potentially result in no change in the number

 of enforcement actions against noncitizens with criminal records in Florida, or result in

 more vigorous enforcement against the most dangerous criminals. And even assuming the

 Memoranda were eventually to result in a drop in enforcement actions, that does not

 mean the noncitizens temporarily spared from the enforcement actions would necessarily

 commit crimes, or commit more crimes than those whom DHS may now promptly arrest

 due to the Priority Framework.

        Thus, this case is similar to Arpaio v. Obama, 797 F.3d 11 (D.C. Cir. 2015), where

 the court found that the plaintiff lacked standing to challenge certain immigration policies

 under which “relevant agencies temporarily . . . defer[red] low-priority removals” in order

 to “focus their resources on removing dangerous criminals.” Id. at 14. The plaintiff

 argued—similar to Florida here—that the “challenged policies” would cause “more

 individuals [to] remain unlawfully in [his county] and commit crimes.” Id. The court

 rejected this argument, noting that the plaintiff’s “theory rest[ed] on the mistaken premise


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 that the challenged policies decrease the number of removals below what would have been

 accomplished had the policies not been adopted,” and that the policies “prioritize[d] [the]

 removal of individuals who pose a threat to public safety.” Id. at 15. The court also

 reasoned that even if the challenged policies resulted in a net decrease in removals, the

 plaintiff’s theory “depend[ed] on unsupported speculation that these policies . . . will”

 necessarily “increase the number of crimes in [plaintiff’s county] above what could

 reasonably be anticipated in the absence of any such policies.” Id. Each of these

 conclusions applies equally here.

       Florida relies on discrete anecdotes of particular noncitizens evading immediate

 arrest and detention, allegedly due to the Memoranda. For example, Plaintiff asserts that

 DHS recently chose not to apprehend seven noncitizens upon their release from state

 custody due to the DHS Memo. See PI Mot. at 9. But five of these noncitizens would not

 be subject to section 1226(c), and so even under Florida’s legal theory, they were not

 unconditionally subject to mandatory detention before the Memoranda were issued. See

 Declaration of Mitchell Diaz, Assistant Field Office Director for the Miami Field Office,

 ¶¶ 8-12 (Mar. 23, 2021). Regardless, the non-apprehension of seven individuals does not

 translate to, and Florida does not demonstrate, a net decrease in the arrests and detention

 of noncitizens with criminal records. Although these seven individuals may be spared

 immediate detention, the Memoranda may still result in prompt action against a larger

 number of noncitizens with more severe criminal histories. The same reasoning applies to

 the other anecdotes Florida relies upon. See PI Mot. at 9–10.

       In any event, this allegation of increased crime does not establish Florida’s standing.


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 To start, crime results in an injury against individual people, not the State. And States

 cannot bring suit on behalf of their citizens—e.g., a parens patriae action—against the

 federal government. Chiles v. Thornburgh, 865 F.2d 1197, 1209 (11th Cir. 1989) (“a state

 does not have standing as parens patriae to bring an action against the federal government

 to vindicate the rights of its citizens”). Furthermore, Florida cannot establish an injury by

 speculating about economic burdens that potential crimes may impose on the State.

 Florida would have to show not only that the Memoranda would “certainly” result in

 more crime in Florida, but also that these crimes will necessarily be of a nature that

 imposes some further injury on Florida specifically. Cf. Crane v. Johnson, 783 F.3d 244, 252

 (5th Cir. 2015) (finding Texas’s claim of economic injury speculative); Wyoming v. U.S.

 Dep’t of the Interior, 674 F.3d 1220, 1231 (10th Cir. 2012) (rejecting Wyoming’s purported

 economic injury as speculative). Florida fails to do so.

       In any event, Florida’s requested relief may not redress its alleged injury. Florida

 seeks only an order enjoining the Priority Framework, without specifying what will

 replace it. See PI Mot. at 24. Again, every Administration must institute some prioritization

 scheme for immigration enforcement. See PI Mot. at 5. Thus, in response to an injunction

 against the Priority Framework, Defendants would have to construct a different

 prioritization scheme, and it is unclear whether that scheme would satisfy Florida.

 Accordingly, Florida has failed to establish both standing and irreparable harm.

 II.   APA.

       a. Florida cannot clear four threshold obstacles to its APA claims.




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                  The challenged actions are committed to agency discretion.

        The Memoranda reflect agency actions which are committed to agency discretion

 by law, and are therefore not subject to judicial review under the APA. See 5 U.S.C.

 § 701(a)(2). The Executive’s “[r]efusals to take enforcement steps” are presumptively not

 subject to judicial review. Heckler v. Chaney, 470 U.S. 821, 831 (1985). Whether to enforce

 a law in a particular instance or set of instances (or to prioritize against certain criminal

 noncitizens over others) “involves a complicated balancing of a number of factors which

 are peculiarly within [the Executive’s] expertise,” including “whether agency resources

 are best spent on this violation or another” and “whether the particular enforcement

 action requested best fits the agency’s overall policies.” Id. at 831.

        Discretion to prioritize among cases in immigration enforcement is especially

 important. “[A]ny policy toward aliens is vitally and intricately interwoven with

 contemporaneous policies in regard to the conduct of foreign relations [and] the war

 power.” Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952). The Executive must

 consider a host of issues, such as the “dynamic nature of relations with other countries”

 and the need for enforcement policies to be “consistent with this Nation’s foreign policy

 with respect to these and other realities.” Arizona, 567 U.S. at 397.

        Congress accordingly, and expressly, empowered the Secretary to establish

 “national immigration enforcement policies and priorities,” 6 U.S.C. § 202(5), and to

 “issue such instructions; and perform such other acts as he deems necessary for carrying out

 his authority” under the statute, 8 U.S.C. § 1103(a)(3) (emphasis added); see id.

 § 1103(a)(1). The Supreme Court and Eleventh Circuit have therefore repeatedly


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 recognized the Executive’s broad discretion in this context. See Reno, 525 U.S. at 483;

 Arizona, 567 U.S. at 396; Chiles v. United States, 69 F.3d 1094, 1096 (11th Cir. 1995); Haitian

 Refugee Ctr., Inc. v. Baker, 953 F.2d 1498, 1507 (11th Cir. 1992).

        Plaintiff contends that this broad discretion is eliminated by the language of two

 statutory provisions, each of which states that DHS “shall” engage in certain enforcement

 actions against noncitizens. See PI Mot. at 13–14 (citing 8 U.S.C. § 1226(c); id. at 15 (citing

 8 U.S.C. § 1231(a)(1)(A)). But Florida misunderstands both the nature of the Memoranda

 and those statutory provisions. First, both Memoranda establish agency priorities for

 carrying out immigration laws. They do not prohibit the arrest or detention of any

 noncitizen. The DHS Memo directs DHS components to focus their enforcement

 resources on what DHS has determined to be the most pressing cases, principally national

 security and public safety threats. See Ex. A, at 2–3; id. at 3–4. The ICE Memo establishes

 similar priorities. See Ex. B., at 4–5. Setting enforcement priorities is both inherently

 necessary to effective operations and well within the express grant of statutory authority.

 See 6 U.S.C. § 202(5). The challenged agency actions merely de-prioritize certain actions

 against some noncitizens—for now—and establish an internal agency procedure for

 verifying that agency resources are being appropriately employed.

        Second, Plaintiff misapprehends the import of the word “shall” in the relevant

 statutory provisions. Courts routinely find non-enforcement decisions exempt from

 substantive judicial review, even in the face of seemingly mandatory language. See, e.g.,

 Chaney, 470 U.S. at 835 (non-enforcement unreviewable under statute directing that

 violators “shall be imprisoned”); Sierra Club v. Whitman, 268 F.3d 898, 903–05 (9th Cir.


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 2001) (non-enforcement unreviewable under “shall” statute in Clean Water Act). Here,

 each provision provides that the Secretary “shall” take certain action with regard to certain

 noncitizens, but neither directs how he is to determine which of the many cases to pursue.

 Cf. Chaney, 470 U.S. at 833.

        The Supreme Court has thus admonished that a statute directing enforcement—

 even one using the word “shall”—generally does not displace the Executive’s inherent

 authority to exercise enforcement discretion. Congress displaces the presumption of

 unreviewability only if it “limit[s] an agency’s exercise of enforcement power . . . either

 by setting substantive priorities, or by otherwise circumscribing an agency’s power to

 discriminate among issues or cases it will pursue.” Chaney, 470 U.S. at 833. A provision

 that merely directs that the enforcement authority “shall” enforce a law offers no such

 limitations. See Town of Castle Rock v. Gonzales, 545 U.S. 748, 761 (2005) (the “deep-rooted

 nature of law-enforcement discretion” persists “even in the presence of seemingly

 mandatory commands”). Thus, the Supreme Court has noted that “a true mandate of

 police action . . . require[s] some stronger indication” of legislative intent than the bare

 “shall.” Id.; see also Chicago v. Morales, 527 U.S. 41, 62 n.32 (1999) (similar); Chiles v. United

 States, 874 F. Supp. 1334, 1340 (S.D. Fla. 1994), aff’d, 69 F.3d 1094 (11th Cir. 1995)

 (“shall” did not impose mandatory duty in immigration context, just as direction that U.S.

 Attorney “shall . . . prosecute for all offenses against the United States” did not impose

 mandatory duty to prosecute “all” cases).

        Here, DHS has exercised its inherent and statutory authority to prioritize its limited

 resources to pursue the immigration cases that, in its judgment, are most pressing. “An


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 agency generally cannot act against each technical violation” of a statute, and the “agency

 is far better equipped than the courts to deal with the many variables involved in the

 proper ordering of its priorities.” Chaney, 470 U.S. at 831–32; cf. Hawthorn Corp. v. United

 States, 98 F. Supp. 3d 1226, 1242 (M.D. Fla. 2015) (“An agency has broad discretion to

 choose how best to marshal its limited resources and personnel to carry out its delegated

 responsibilities.”). The Supreme Court has already recognized that the INA’s provisions

 must be read in a practical manner that accounts for resource limitations and other factors.

 In Zadvydas v. Davis, for example, the Supreme Court observed that it is doubtful “that

 when Congress shortened the removal period to 90 days,” it believed that “all reasonably

 foreseeable removals could be accomplished in that time.” 533 U.S. 678, 701 (2001). And

 in Preap the Court noted that the provision stating that DHS “shall” apprehend covered

 aliens “when . . . released” did not actually contemplate immediate arrests of all covered

 noncitizens. 139 S. Ct. at 969; see also id. at 973 (Kavanaugh, J., concurring).

       Decisions over how to prioritize limited resources involve a complicated balancing

 of factors uniquely within the agency’s expertise; they are committed to the agency’s

 discretion and are not reviewable under the APA. See Chaney, 470 U.S. at 832; Forsyth Cty.

 v. U.S. Army Corps of Eng’rs, 633 F.3d 1032, 1040-41 (11th Cir. 2011).

                  The challenged actions are not “final agency action” under the APA.

       The APA allows challenges only to “final agency action.” 5 U.S.C. § 704. Agency

 action is “final” under the APA only if it is “the consummation of the agency’s

 decisionmaking process” and determines “rights or obligations.” Bennett v. Spear, 520 U.S.

 154, 178 (1997). Here, the Memoranda are not “final agency action” under the APA. The


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 Memoranda—which provide interim guidance—do not change any person’s legal status,

 determine any legal benefits, or reverse any previous agency action. Quite the opposite:

 noncitizens subject to a final order of removal have no greater right to remain in the

 United States under the Memoranda than they did before the Memoranda were issued.

 And those described in § 1226(c) remain subject to arrest immediately upon their release,

 just as they were before the Memoranda. Indeed, the Memoranda confirm that they do

 not “create any right or benefit.” Ex. A at 4; Ex. B, at 8. Rather, they set out enforcement

 priorities going forward.

       Furthermore, agency action is not rendered “final” for purposes of the APA simply

 because it may have incidental effects; it is “final” only if it gives “rise to direct and

 appreciable legal consequences.” Cal. Cmtys. Against Toxics v. EPA, 934 F.3d 627, 635

 (D.C. Cir. 2019) (emphasis added). Thus, as the Eleventh Circuit has recognized, “the

 Supreme Court has defined a nonfinal agency order as one that does not itself adversely

 affect complainant but only affects his rights adversely on the contingency of future

 administrative action.” Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1237 (11th

 Cir. 2003). That describes the scenario here: DHS’s internal priorities for immigration

 enforcement have no immediate effect on any individual or state; any consequences are

 “contingen[t] of future administrative action.”

                  Congress has precluded judicial review of these types of decisions.

       The APA does not provide a cause of action when another “statute[] preclude[s]

 judicial review.” 5 U.S.C. § 701(a)(1). “Whether and to what extent a particular statute

 precludes judicial review is determined not only from its express language, but also from


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 the structure of the statutory scheme, its objectives, its legislative history, and the nature

 of the administrative action involved.” Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345

 (1984). A detailed review scheme that allows some parties, but not others, to challenge

 the executive action at issue is “strong evidence that Congress intended to preclude [other

 parties] from obtaining judicial review.” United States v. Fausto, 484 U.S. 439, 448 (1988).

        Judicial review of immigration enforcement decisions is subject to a carefully

 reticulated scheme. “For more than a century, this [Supreme] Court has recognized that

 the admission and exclusion of foreign nationals is a ‘fundamental sovereign attribute

 exercised by the Government’s political departments largely immune from judicial

 control.’” Trump v. Hawaii, 138 S. Ct. 2393, 2418 (2018) (quoting Fiallo v. Bell, 430 U. S.

 787, 792 (1977)). Thus, Congress enacted several provisions “aimed at protecting the

 Executive’s discretion from the courts.” Reno, 525 U.S. at 486–87. See 8 U.S.C. §§ 1226(e);

 1226a(b)(1); 1229c(f); 1231(h); 1252(a)(2)(A), (a)(2)(B), (a)(2)(C), (b)(4)(D), (b)(9), (d), (f),

 (g). Here, Plaintiff challenges a DHS decision to defer certain enforcement actions

 attendant to removal proceedings. But section 1229a already sets forth a detailed, and

 narrow, path for judicial review of removal decisions, including challenges to “decision[s]

 to detain [aliens].” Jennings, 138 S. Ct. at 841; see also supra at 2.

        Florida makes no effort to invoke this statutory review mechanism, and for good

 reason: it does not offer a means for a State to challenge any decision related to removal.

 Cf. Ayuda, Inc. v. Reno, 7 F.3d 246, 250 (D.C. Cir. 1993) (organizational plaintiff could not

 challenge INS policies “that bear on an alien’s” removal). Congress’s decision to allow

 noncitizens, but not sovereign entities, to invoke these review mechanisms is “strong


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 evidence that Congress intended to preclude” sovereign entities “from obtaining judicial

 review” of removal and detention decisions. Fausto, 484 U.S. at 448. Thus, in Block,

 Congress provided a specific review scheme for “dairy handlers” but not for “consumers.”

 467 U.S. at 346–47. But consumers were not free to then challenge the agency action

 under the APA; they could not challenge the agency action at all. Id. at 347. Just so here.

                      Florida cannot challenge the DHS Memo’s removal pause because it does not fall
                      within the relevant zone of interests.

         “[A] plaintiff may not sue [under the APA] unless [it] falls within the zone of

 interests sought to be protected by the statutory provision whose violation forms the legal

 basis for his complaint.” Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 177 (2011).

 Plaintiff claims that the removal pause conflicts with 8 U.S.C. § 1231, but that provision

 makes clear that “[n]othing [therein] shall be construed to create any substantive or

 procedural right or benefit that is legally enforceable by any party against the United States

 or its agencies or officers or any other person.” 8 U.S.C. § 1231(h) (emphasis added).

 Thus, Congress made clear that it wanted no party to judicially enforce section 1231.

 Accordingly, Florida’s challenges to the Memoranda may not be brought under the APA.4

         b. Florida’s APA claims fail on the merits.

                 i.      The Priority Framework is not contrary to law.

         Florida argues that section 1226(c) unconditionally requires DHS to arrest and



 4
   To get around the APA reviewability problem, Florida tries to invoke an exception derived from the
 Supreme Court’s decision in Leedom v. Kyne, where “[e]ven [when] Congress is understood generally to
 have precluded review,” there is a “narrow exception” where an agency has committed an “extreme”
 error, “disregard[ing] a specific and unambiguous statutory directive.” Griffith v. Fed. Lab. Rels. Auth., 842
 F.2d 487, 492 (D.C. Cir. 1988). As stated herein, however, the statutes at issue here are not unambiguous
 in light of relevant precedent concerning law enforcement provisions.

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 detain all covered noncitizens, and thus, because certain noncitizens covered by section

 1226(c) are not listed as priorities in the Memoranda, the Memoranda must conflict with

 section 1226(c). Florida’s theory fails for at least two reasons.

       First, even assuming section 1226(c) may be read to impose an unconditional

 command, the Memoranda do not prohibit the arrest or detention of any noncitizen. They

 merely prioritize—for now—enforcement actions against certain noncitizens based on

 public safety and national security considerations. Other noncitizens, however, may still

 be arrested and detained while the Priority Framework remains in place, if warranted. See

 supra at 4-6; Declaration of Peter B. Berg, Acting Deputy Executive Associate Director of

 ICE Enforcement and Removal Operations ¶ 9 (Mar. 23, 2021). At best, Florida may

 argue that the Memoranda will lead to a delay in the arrest and detention of certain

 noncitizens who are covered by section 1226(c) but are not identified as priorities in the

 Memoranda. But the Supreme Court in Preap recognized that, in section 1226(c),

 Congress did not expect DHS to immediately arrest all noncitizens covered by that

 provision. See 139 S. Ct. at 969; supra at 3. Indeed, in the principal case Florida relies

 upon—Preap—some plaintiffs were arrested “several years” after they were released from

 criminal confinement. Id. at 961.

       Florida protests that the Memoranda, in effect, “cease” the arrest and detention of

 certain noncitizens. See PI Mot. at 6, 20-21. For example, it argues that, during the interim

 period in which the Memoranda are in effect, officials will need to request preapproval to

 arrest certain noncitizens, and these requests may be denied. See id., at 21. But requiring

 some supervisory accountability does not amount to a prohibition on the arrest of any


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 noncitizen, any more than a warrant requirement amounts to a prohibition on the search

 of a home. Officials may secure preapproval, if warranted. And even if they cannot, this

 does not categorically prevent them from arresting and detaining the relevant noncitizen

 in the future.5 The Memoranda simply create a new prioritization scheme; they do not

 insulate noncitizens from enforcement actions. Accordingly, the Memoranda are

 consistent with section 1226(c).

         Regardless, and as explained above, section 1226(c) does not impose an

 unconditional command to arrest and detain all covered noncitizens. See supra at 11-14.

 A statute directing specific enforcement actions, even one using the word “shall,” still

 preserves the Executive’s inherent authority to exercise enforcement discretion. See id.

 Indeed, resource limitations will ensure that DHS can never arrest all noncitizens covered

 by section 1226(c), and Florida does not assert that DHS was accomplishing this

 insurmountable task before the Memoranda were issued. DHS will inevitably have to

 prioritize certain noncitizens over others, see Chaney, 470 U.S. at 831, and the Memoranda

 merely provide guidance on which noncitizens to prioritize.

         Further, section 1226(c), in particular, lacks the “stronger indication” of

 Congressional intent necessary to impose an unconditional mandate in this context. Castle

 Rock, 545 U.S. at 761. To the contrary, multiple indicators suggest that Congress did not



 5
   Florida argues that “the record reflects that the agencies are treating the memos as a prohibition,” and
 cites to a declaration that appends e-mails from certain ICE officials. See PI. Mot., Ex. 1. But these e-mails
 state only that ICE is currently choosing not to pursue immigration enforcement actions against certain
 individuals, not that they are generally prohibited from doing so or that they will not pursue those actions
 later. See, e.g., id., at 10 (“Subject currently does not meet our removal criteria”). Additionally, as noted in
 the Berg Declaration, DHS personnel are pursuing enforcement actions against non-priority noncitizens.
 Berg. Decl. ¶ 9.

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 intend section 1226(c) to impose an unconditional command to apprehend all covered

 noncitizens. For example, “Congress has not appropriated sufficient funds to remove all

 . . . undocumented aliens.” Arizona Dream Act Coal. v. Brewer, 855 F.3d 957, 976 (9th Cir.

 2017). Further, section 1226(c)’s directive is only triggered when there is a “pending

 removal proceeding[],” Jennings, 138 S. Ct. at 846, and DHS is “invested with the sole

 discretion to commence [such] removal proceedings.” Matter of Avetisyan, 25 I. & N. Dec.

 688, 690–91 (BIA 2012). Thus, if section 1226(c)’s directive is contingent on an underlying

 event within DHS’s discretion—initiating removal proceedings—it is unlikely Congress

 intended this directive to truly be an unconditional mandate.

        Finally, Florida briefly challenges the removal pause in the DHS Memo, citing only

 to Texas, and arguing that this pause conflicts with 8 U.S.C. § 1231(a)(1)(A). See PI Mot.

 at 15. However, their argument concerning this provision is similar to their argument

 concerning section 1226(c): section 1231(a)(1)(A) states that DHS “shall remove [an] alien

 from the United States within a period of 90 days” when the “alien is ordered removed,”

 and thus it imposes an unconditional mandate that conflicts with the removal pause. But

 as set forth herein, and in DHS’s response memorandum in Texas, this language does not

 remove the inherent discretion DHS has over immigration enforcement decisions.6 See

 supra at 11-14; Texas v. U.S., 21-cv-3, ECF No. 83 (S.D. Tex. Feb. 12, 2021).




 6
   Plaintiffs briefly reference their Constitutional claims, but none is sufficiently developed to justify
 emergency relief. See PI Mot. at 24. In any event, these claims—e.g., the “Take Care Clause” claim—are
 based on the same premise as Plaintiffs’ principal statutory claim: that the Memoranda allegedly conflict
 with certain statutory provisions. Thus, Defendants’ arguments herein apply equally to the Constitutional
 claims. Finally, there is no independent cause of action for claims alleging that the Executive has not
 “faithfully executed” the laws. Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 499 (1867).

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              ii.    The Priority Framework is not arbitrary and capricious.

       The Memoranda provide a rational scheme for prioritizing limited resources, and

 thus survive the highly deferential arbitrary and capricious review. “To determine whether

 the agency's action was arbitrary and capricious,” the Court “examine[s] whether the

 agency came to a rational conclusion and do[es] not substitute [its] own judgment for that

 of the agency.” Mendoza v. Sec’y, Dep’t of Homeland Sec., 851 F.3d 1348, 1353 (11th Cir.

 2017). “This standard is exceedingly deferential.” Id. at 1352–53 (emphasis added). Courts

 are especially deferential in the context of immigration policy. See supra at 16 (describing

 effect of Hawaii on judicial review of immigration policy).

       Here, the Memoranda call on immigration officials to focus their limited resources

 on noncitizens that pose the greatest risk to national security and public safety, while still

 providing flexibility for those officials to take enforcement actions other noncitizens with

 criminal records based on individual circumstances. See Ex. A, at 2–3; Ex. B, at 3–4. That

 is what law enforcement officers do day-to-day anyhow—prioritize the most serious

 offenses. Additionally, the Memoranda also seek to institute temporary practices that limit

 close contact among those involved in the immigration enforcement process in light of the

 COVID-19 pandemic. See Ex. B, at 2. These justifications are sufficient to survive arbitrary

 and capricious review. See, e.g., Chaney, 470 U.S. at 842 (Marshall, J. concurring) (“a

 decision not to enforce that is based on valid resource-allocation decisions will generally

 not be arbitrary, [and] capricious”).

       To show otherwise, Florida cycles through a number of underdeveloped theories.

 First, Florida protests that Defendants have failed to cite sufficient evidence for their


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 resource limitation concerns. See PI Mot. at 22. But DHS need not make a detailed

 evidentiary showing; it must provide only a “rationale” that is “clearly explained.”

 Conservation All. of St. Lucie Cty., Inc. v. U.S. Dep’t of Transp., 847 F.3d 1309, 1326 (11th Cir.

 2017). Regardless, an evidentiary showing is uniquely unnecessary here. Resource

 limitation     concerns      are     self-evident,     and     the     government—across           several

 administrations—has repeatedly referred to these limitations when justifying its policies.

 See, e.g., Plyler v. Doe, 457 U.S. 202, 218 n.17 (1982); Arpaio, 797 F.3d at 16 (noting DHS’s

 resource limitations).

        Florida then argues that Defendants’ stated justifications are “pretextual,” and that

 the Memoranda were motivated by policy considerations. See PI Mot. at 22–23. To

 establish a “pretext” claim, however, Florida must show that the stated justifications

 played no role in motivating the agency action at issue; not just that other factors

 (including policy preferences) played a role as well. See Dep’t of Commerce v. New York, 139

 S. Ct. 2551, 2575 (2019) (finding a pretext claim viable when “the sole stated reason” for

 an agency action “seems to have been contrived”). The Supreme Court made clear that

 “a court may not reject an agency’s stated reasons for acting simply because the agency

 might also have had other unstated reasons,” such as “an Administration’s priorities.” Id.

 at 2573. Florida does not show that resources constraints, and COVID-related concerns,

 had no influence on the Memoranda’s design.7 Thus, it is immaterial that other


 7
  Florida asserts that President Biden’s press secretary “admitted” that the “Administration does not want
 to enforce the immigration laws.” PI Mot., at 22-23. But the cited sources do not support this claim. For
 example, Florida cites to a declaration from a former ICE official stating, with no direct evidence, that he
 “believe[s]” the stated reasons are “pretext[ual].” Ex. 18 at 13. This evidence cannot overcome the
 “presumption of regularity,” where in “the absence of clear evidence to the contrary, courts presume that

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 considerations—including humanitarian concerns— may have played a role as well.

        Florida also argues that Defendants ignored the costs imposed on the State by the

 Memoranda; specifically, the purported risk of increased crime. See PI Mot. at 23. But as

 explained above, the Memoranda seek to increase security (and thus lower social costs)

 by concentrating limited resources on those most likely to pose a threat to national security

 and public safety. See supra at 4-5, 8.

        Finally, Florida argues that Defendants failed to acknowledge that the Memoranda

 constitute a change in policy, and failed to consider alternatives. The Supreme Court has

 stated that an agency must “display awareness that it is changing position.” FCC v. Fox

 Television Stations, Inc., 556 U.S. 502, 515 (2009). The Memoranda do just that: the ICE

 Memo implements the DHS Memo, which was itself titled “Review of and Interim

 Revision to” enforcement priorities. Additionally, an agency need not “consider all policy

 alternatives in reaching decision.” Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S. 29, 51 (1983). “[W]hen an agency” changes its policy, it need only

 “consider the alternative[s] that are within the ambit of the existing [policy].” Dep’t of

 Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1913 (2020); Nat’l Shooting

 Sports Found., Inc. v. Jones, 716 F.3d 200, 215 (D.C. Cir. 2013) (“an agency must consider

 . . . reasonably obvious alternative[s]” that are “significant and viable”). Here, Florida

 fails to identify a single policy alternative that is “within the ambit of existing policy” or

 otherwise “obvious,” “significant and viable” that Defendants failed to consider. That



 [government officials] have properly discharged their official duties.” United States v. O’Callaghan, 500 F.
 App’x 843, 848 (11th Cir. 2012).

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 alone dooms their claim.8 Accordingly, the Memoranda are not arbitrary and capricious.

 III.    Florida’s notice-and-comment challenge fails.

         The Memoranda are exempt from the APA’s notice and comment requirement.

 First, this requirement does not apply to “general statements of policy,” 5 U.S.C.

 § 553(b)(3)(A), which “advise the public prospectively of the manner in which the agency

 proposes to exercise a discretionary power,” Lincoln v. Vigil, 508 U.S. 182, 197 (1993). By

 contrast, rules adopted through notice-and-comment have the force and effect of law, and

 create legally enforceable rights or obligations. See Perez v. Mortg. Bankers Ass’n, 575 U.S.

 92, 96 (2015). Here, the Memoranda are quintessential policy statements: they announce

 how and when DHS components will pursue (or forbear from) enforcement, see supra at

 4-5—a decision “generally committed to an agency’s absolute discretion.” Chaney, 470

 U.S. at 831. But they do not alter the rights or obligations of any person.

         Florida relies on Jean v. Nelson, 711 F.2d 1455 (11th Cir. 1983), which is

 inapplicable. There, the court found that the “general statement of policy” exception did

 not apply due to the “peculiar facts” of the case, including that the detention policy was

 “not . . . developed . . . at the highest level of government” and it was understood that

 officials were not “free to exercise discretion.” Id. at 1481-82. Here, the Memoranda were

 developed at the “highest level[s] of government,” and they explicitly leave agents with

 discretion. See supra at 3-6.

         Further, even if the Court concludes that the Memoranda are not general


 8
   Florida also briefly notes that Defendants failed to consider Plaintiff’s “reliance interests,” namely that
 it passed legislation to improve coordination with immigration officials. PI Mot., at 23. But Plaintiff fails
 to explain how the Memoranda prohibit Florida from continuing to coordinate with these officials.

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 statements of policy, the APA also exempts procedural rules from notice-and-comment,

 see 5 U.S.C. § 553(b)(A), in order to “ensure that agencies retain latitude in organizing

 their internal operations,” Mendoza v. Perez, 754 F.3d 1002, 1023 (D.C. Cir. 2014). Here,

 the Memoranda are procedural rules because they inform internal resource allocation.

 The Memoranda are thus exempt from the APA’s notice-and-comment requirement.

 IV.    The balance of equities and public interest disfavor a preliminary injunction.

        Florida’s requested relief would interfere with the federal government’s judgment

 concerning where it should dedicate its resources, undermining its “weighty interest in the

 efficient administration of the immigration laws.” Garcia-Mir v. Meese, 781 F.2d 1450, 1454

 (11th Cir. 1986); see also Berg Decl. ¶¶ 11-19. Further, as explained above, the Memoranda

 further the public interest by dedicating resources towards those likely to pose the greatest

 risk to national security, border security, and public safety. See supra at 4-5, 8.

        To the extent the Court issues any relief, it should be limited to Florida. Nationwide

 relief that would affect those who are not parties to this case would exceed this Court’s

 authority under Article III and violate longstanding equitable doctrines. See Dep’t of

 Homeland Sec. v. New York, 140 S. Ct. 599 (2020) (Gorsuch, J., concurring); Trump v.

 Hawaii, 138 S. Ct. at 2429 (Thomas, J., concurring). Further, nationwide relief is

 unnecessary to address Florida’s alleged harms, all of which are limited to its territory.

                                      CONCLUSION

        For these reasons, the Court should deny Florida’s Motion for a Preliminary

 Injunction.




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